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 UNITED STATES DISTRICT COURT                 FOR ONLINE PUBLICATION ONLY
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA
                                                             MEMORANDUM
                                                             AND ORDER
       - against -                                           05-CR-188 (JG)


 TYRONE HUNTER and ADRIAN
 PAYNE,

                     Defendants.

 ------------------------------X
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 JOHN GLEESON, United States District Judge:

                Codefendants Tyrone Hunter and Adrian Payne challenge the jury verdicts

 convicting them of several murder, racketeering, firearms and drug trafficking charges. They

 move for judgment of acquittal on all counts pursuant to Federal Rule of Criminal Procedure

 29(c) or, in the alternative, for a new trial pursuant to Rule 33. For the reasons stated below, I

 find that Hunter is entitled to a judgment of acquittal on Counts Three (conspiracy to murder

 Clemons in aid of racketeering) and Twelve (use of a firearm in relation to Counts Ten and

 Eleven), and is entitled to a new trial on Counts One (racketeering), Two (racketeering

 conspiracy), and Ten (conspiracy to distribute crack and powder cocaine), but I sustain his

 conviction on Count Four (murder of Eric Clemons in aid of racketeering). I find Payne is

 entitled to a judgment of acquittal on Counts Three (conspiracy to murder Clemons in aid of

 racketeering), Five (conspiracy to murder Pedro Newton in aid of racketeering), and Thirteen

 (conspiracy to distribute heroin), but I sustain his conviction on Counts One (racketeering), Two

 (racketeering conspiracy), Four (murder of Clemons in aid of racketeering), Six (murder of

 Newton in aid of racketeering), Ten (conspiracy to distribute crack and powder cocaine), Eleven

 (distribution of crack and powder cocaine), and Twelve (use of a firearm in relation to counts

 Ten and Eleven).




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                                            BACKGROUND

                   Hunter and Payne were indicted on March 7, 2005 for violations of both the

 substantive and the conspiracy provisions of the Racketeer Influenced and Corrupt Organizations

 (“RICO”) Act; murder and conspiracy to murder in aid of racketeering; distributing and

 conspiring to distribute cocaine and cocaine base; unlawful possession of firearms, and several

 other offenses.

                   Over a four-week trial, the government offered evidence indicating that Hunter

 and Payne were members of a violent criminal gang which operated from 1983 to 2003. The

 gang, sometimes known as “the family” or “the East New York mob,” was based in Brooklyn’s

 East New York neighborhood and engaged in drug sales, robberies, murders and other criminal

 activity.

                   At the close of the trial, both defendants moved for a judgment of acquittal

 pursuant to Rule 29(a) of the Federal Rules of Criminal Procedure. I granted some aspects of the

 motions, finding that the government had not produced sufficient evidence for a reasonable jury

 to find that the defendants had engaged in money laundering or a money laundering conspiracy,

 and finding that several charges relating to a robbery conspiracy and firearms violations were

 barred by the statute of limitations. I denied the rest, except for Payne’s argument that charges

 of murder and conspiracy to murder in aid of racketeering were time-barred because they were

 not “punishable by death” within the meaning of 18 U.S.C.§ 3281, which I declined to decide

 without briefing. See Fed. R. Crim. P. 29(b) (permitting district court to decline to decide Rule

 29 motion until after jury returns verdict).


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                The jury found both Hunter and Payne guilty of racketeering and conspiring to

 commit the offense of racketeering; conspiring to murder and murdering Eric Clemons in aid of

 racketeering; conspiring to distribute crack and powder cocaine; and using a firearm in

 connection with drug trafficking. The jury also found Payne guilty of conspiring to murder and

 murdering Pedro Newton in aid of racketeering; distributing crack and powder cocaine; and

 conspiring to distribute heroin.

                Hunter argues that the racketeering and racketeering conspiracy counts are time-

 barred by the five-year statute of limitations, noting that he was incarcerated five years before the

 indictment was brought and arguing that he did not commit any predicate acts after his release

 from custody. He also argues that he was entitled to a jury instruction on withdrawal from the

 racketeering conspiracy and drug trafficking conspiracy, and that the government produced

 insufficient evidence for a reasonable jury to find that he murdered or conspired to murder

 Clemons in aid of racketeering as opposed to for personal reasons, and that he possessed a

 firearm within the limitations period. In several pro se submissions, Hunter also claims that the

 prosecutors refused to disclose exculpatory evidence; claims that the evidence was insufficient to

 allow a reasonable jury to find that one conspiracy or enterprise existed as opposed to multiple

 conspiracies; and generally argues that the government’s evidence was not credible.

                Payne contends that all of the charges of murder in aid of racketeering and

 conspiracy to murder in aid of racketeering are time-barred by the general five-year statute of

 limitations.1 I declined to rule on this argument when he first raised it prior to the jury’s

 deliberations. He also moves for a judgment of acquittal on grounds that the evidence was
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                Hunter joined in this application. Tr. 2786.
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 insufficient to warrant a reasonable jury finding that a single conspiracy or enterprise existed,

 that the drug conspiracies took place within the applicable limitations period, and that Payne

 possessed a firearm in relation to the drug offenses or within the limitations period.

                                            DISCUSSION

 A.     Hunter and Payne’s Rule 29 Motions

        1.      Legal Standard

                Federal Rule of Criminal Procedure 29 provides that after a jury verdict, “the

 court on the defendant’s motion must enter a judgment of acquittal of any offense for which the

 evidence is insufficient to sustain a conviction,” Fed. R. Crim. P. 29(a); see also Fed. R. Crim. P.

 29(c)(1) (allowing for such motions after jury verdicts). “A defendant challenging the

 sufficiency of the evidence supporting a conviction faces a ‘heavy burden.’” United States v.

 Glenn, 312 F.3d 58, 63 (2d Cir. 2002) (quoting United States v. Matthews, 20 F.3d 538, 548 (2d

 Cir. 1994)). I may overturn a conviction on that basis “only if, after viewing the evidence in the

 light most favorable to the Government and drawing all reasonable inferences in its favor,” I find

 that “‘no rational trier of fact’ could have concluded that the Government met its burden of

 proof.” Glenn, 312 F.3d at 63 (quoting United States v. Morrison, 153 F.3d 34, 49 (2d Cir.

 1998)). “‘[T]he relevant question is whether . . . any rational trier of fact could have found the

 essential elements of the crime beyond a reasonable doubt.’” Glenn, 312 F.3d at 63 (omission in

 original) (quoting Jackson v. Virginia, 443 U.S. 307, 319 (1979)). My analysis considers “‘the

 evidence in its totality,’ and the Government ‘need not negate every theory of innocence.’”

 Glenn, 312 F.3d at 63 (quoting United States v. Autuori, 212 F.3d 105, 114 (2d Cir. 2000)).


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                In order to “‘avoid usurping the role of the jury,’” Autuori, 212 F.3d at 114

 (quoting United States v. Guadagna, 183 F.3d 122, 129 (2d Cir. 1999)), I must “‘defer to the

 jury’s assessment of witness credibility and the jury’s resolution of conflicting testimony’” when

 reviewing the sufficiency of the evidence. Glenn, 312 F.3d at 64 (quoting United States v. Bala,

 236 F.3d 87, 93-94 (2d Cir. 2000)); see also, e.g., Autuori, 212 F.3d at 114 (“We may not

 substitute our own determinations of credibility or relative weight of the evidence for [those] of

 the jury.”). The relevant inquiry is “‘whether upon the evidence, giving full play to the right of

 the jury to determine credibility, weigh the evidence, and draw justifiable inferences of fact, a

 reasonable mind might fairly conclude guilt beyond a reasonable doubt.’” Autuori, 212 F.3d at

 114 (quoting United States v. Mariani, 725 F.2d 862, 865 (2d Cir. 1984)).

                Where a fact to be proved is also an element of the offense, however, “it is not

 enough that the inferences in the government’s favor are permissible.” United States v.

 Martinez, 54 F.3d 1040, 1043 (2d Cir. 1995). I “must also be satisfied that the inferences are

 sufficiently supported to permit a rational juror to find that the element, like all elements, is

 established beyond a reasonable doubt.” Id. (citing United States v. Soto, 47 F.3d 546, 549 (2d

 Cir. 1995), and United States v. D’Amato, 39 F.3d 1249, 1256 (2d Cir. 1994)). “[I]f the evidence

 viewed in the light most favorable to the prosecution gives ‘equal or nearly equal circumstantial

 support to a theory of guilt and a theory of innocence,’ then ‘a reasonable jury must necessarily

 entertain a reasonable doubt.’” Glenn, 312 F.3d at 70 (quoting United States v. Lopez, 74 F.3d

 575, 577 (5th Cir. 1996)).




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          2.       Violent Crimes in Aid of Racketeering

                   i.       Statute of Limitations

                   The indictment in this case was brought on March 7, 2005. The general criminal

 statute of limitations, 18 U.S.C.§ 3282, prescribes a five-year limitations period. Accordingly,

 neither Hunter nor Payne can be convicted of any crime governed by§ 3282 unless that crime was

 committed on or after March 8, 2000. As all parties agree, the charges of conspiracy to murder

 in violation of 18 U.S.C.§ 1959(a)(5) are governed by the five-year statute of limitations imposed

 by 18 U.S.C.§ 3282, and all involved conduct terminating before March 8, 2000. They are thus

 time-barred, and the defendants are entitled to judgments of acquittal on those counts.

                   Hunter and Payne argue that the charges of murder in aid of racketeering in

 violation of§1959(a)(1) are also governed by§ 3282’s five-year statute of limitations and thus also

 barred. The government argues that murder in aid of racketeering is a crime “punishable by

 death” and thus governed by 18 U.S.C.§ 3281, which imposes no statute of limitations on such

 crimes.2

                   Section 3281 provides that “[a]n indictment for any offense punishable by death

 may be found at any time without limitation.” Section 1959(a)(1) provides that anyone

 committing murder in aid of racketeering shall be punished “by death or life imprisonment, or by

 a fine under this title, or both.” Hunter and Payne argue, somewhat counterintuitively, that this

 does not render murder in aid of racketeering an “offense punishable by death” within the


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                   Payne moves for a judgment of acquittal on this ground, even though if his argument were
 successful it would at most justify a new trial where aggravating factors could be submitted and charged to a jury. I
 find it most convenient, however, to group this question together with the challenge to the sufficiency of the
 evidence regarding the murder conspiracies, which also dealt with statutes of limitations on related charges.
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 meaning of§3281. Rather, they contend that the only offenses “punishable by death” are those in

 which a jury has found at least one statutory aggravating factor which would, if not outweighed

 by mitigating factors, allow actual imposition of the death penalty. See 18 U.S.C.§ 3592(b)-(d),

 3593(e) (listing aggravating factors, requiring finding of at least one aggravating factor prior to

 imposition of death penalty).

                   Hunter and Payne do not attempt to justify their conclusion as a matter of

 statutory interpretation. 18 U.S.C.§3281 releases limitations on the bringing of indictments

 based on the content of those indictments, and thus does not appear to contemplate any jury

 findings whatsoever. Since§ 3281 applies to an indictment “for any offense punishable by

 death,” one would expect whether or not the offense is punishable by death to be determined by

 reference to the contents of the indictment. If death is among the penalties authorized for an

 offense charged in the indictment, then one would think the indictment is “for” an “offense

 punishable by death” and “may be found at any time without limitation.” Id. Whatever

 procedural hurdles or constitutional objections may be raised toward the actual imposition of the

 death penalty at a later time would not seem to affect whether, at the time of indictment, the

 offense charged is “punishable by death.”3 If the legislature had wished to render a prosecution

 untimely based on facts that would be determined by a jury, it could easily have barred later

 conviction for an offense if the indictment is brought more than five years after the offense and

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                   There is some other textual support for this view as well. Section 1959(a)’s language prescribing
 that that those who commit violent crimes in aid of racketeering “shall be punished (1) for murder, by death or
 imprisonment, or by a fine under this title, or both,” closely tracks that of § 3281’s phrase “punishable by death.”
 And the procedures governing actual imposition of the death penalty do not use the word “punishable,” but rather
 discuss a procedure to determine when death shall be imposed, based on whether a death sentence is “justified.” See
 18 U.S.C. § 3591 (providing that a defendant who committed certain crimes “shall be sentenced to death if, after
 consideration of the factors set forth in section 3592 in the course of a hearing held pursuant to section 3593, it is
 determined that imposition of a sentence of death is justified”).
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 the jury did not make specified findings, but it appeared to envision resolving the timeliness of a

 prosecution only at the stage of indictment.

                  The defendants make two arguments in support of their construction of§ 3281.

 The first is based on United States v. Parrino, where the United States Court of Appeals for the

 Second Circuit considered a prosecution for kidnapping under a statute authorizing the

 imposition of the death penalty if the victim was not released unharmed. 180 F.2d 613, 614-15

 (2d Cir. 1950). The Second Circuit found that the indictment, which did not specify that the

 victim was not released unharmed, was sufficient because the provision related to release was

 merely a sentencing factor and not an element of the offense,4 but that the prosecution would be

 time-barred if the jury did not find that the victim was not released unharmed. Id. at 615. The

 Second Circuit’s reasoning was that an offense only becomes “punishable by death” within the

 meaning of§3281 when the decisionmaker becomes free to exercise its discretion to impose a

 penalty. Id. (“When a crime is made ‘punishable’ by a prescribed penalty -- fine, forfeiture,

 imprisonment, death, or anything else -- the choice of the kind and character of the sentence is

 confided to some authority in its discretion; and it does not become ‘punishable’ by that

 authority until all the conditions imposed upon the exercise of its discretion have been

 satisfied.”). As the statute defining the offense forbade a decisionmaker from imposing the death

 penalty in the absence of a finding that the victim was not released unharmed, the offense was

 not punishable by death in the absence of such a finding. Id. (“[Kidnapping] is punishable by


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                   The distinction between sentencing factors and elements of offenses was later essentially
 jettisoned in Apprendi v. New Jersey, 530 U.S. 466, 476 (2000). The Second Circuit also opined that even if the
 requirement that a victim not be released unharmed were an element of the offense, its omission from the indictment
 would be a harmless variance that would not prohibit the imposition of the death penalty. Parrino, 180 F.2d at 615.
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  either penalty, as soon as the prescribed authority becomes free to exercise its discretion; and the

  jury becomes free to do so only if the condition is satisfied that the victim has not been released

  ‘unharmed.’”). Put in other words, the Parrino court held that whether an offense is punishable

  by death is determined not with reference to whether death is among the punishments authorized

  for the offense at the time of the indictment, but by focusing on whether death is actually

  available for a specific defendant at the end of the trial.

                  The reasoning used in Parrino is inconsistent with the government’s position in

  this case. The Parrino court interpreted the word “punishable” as applying only when all

  conditions on the discretion of the decisionmaker to actually impose a death sentence have been

  satisfied. The finding of at least one aggravating factor is a condition on the decisionmaker’s

  discretion,§3593(d), (e) (conditioning jury’s ability to recommend death on a finding of at least

  one aggravating factor set forth in§ 3592), and thus if Parrino governed, Hunter and Payne’s

  murder in aid of racketeering charges would be time-barred in the absence of a jury finding of at

  least one aggravating factor.

                  It is worth noting the perverse consequences Parrino’s rule would have if applied

  to§ 3593. While the jury cannot recommend a death sentence without finding at least one

  statutory aggravating factor, it also cannot recommend a death sentence if the government does

  not seek the death penalty. 18 U.S.C.§ 3593(b) (conditioning holding of death penalty hearing on

  the government attorney’s filing of a notice of intent to seek the death penalty). Under Parrino’s

  logic, a crime cannot be “punishable by death” unless the government actually seeks the death

  penalty from a qualified jury, because without satisfying those requisites, the decisionmaker does


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  not have the discretion to impose the death penalty. Striving mightily to avoid the bizarre

  consequences of a rule where the government could not bring a prosecution for murder after 5

  years unless it was prepared to actually seek to kill the perpetrator,5 Payne asserts that the

  government would not be required to seek the death penalty, and no other procedural

  requirements for the imposition of the death penalty would be needed. All that would be

  required, according to Payne, would be a jury’s finding of a single aggravating factor. This

  reassurance founders on the logic of Parrino. A jury which found a single aggravating factor in

  a case where the government did not recommend the death penalty, as Payne proposes, simply

  would not have the discretion to impose a sentence of death. See§ 3593(b) (requiring notice of

  intent to seek the death penalty before holding death penalty hearing);§ 3591(a) (conditioning

  sentence of death on death penalty hearing). By Parrino’s logic, the offense would not be

  “punishable by death” within the meaning of§ 3281, and the crime would be subject to the five-

  year statute of limitations.

                    If the foregoing sounds far afield of actual practice, this is because the Second

  Circuit has since rejected Parrino’s approach. In United States v. Kostadinov, 721 F.2d 411, 412

  (2d Cir. 1983) (per curiam), it interpreted the phrase “punishable by death” in the then-existing

  federal bail statute in a manner impossible to reconcile with Parrino. The federal bail statute at

  the time allowed courts additional grounds to deny bail to defendants charged with offenses



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                     The government, it should be noted, would not be allowed to circumvent this result through
  halfhearted advocacy. It might be tempting to submit a single aggravating factor and a host of mitigating factors to a
  death-qualified jury in the hopes that they will find the aggravating factor exists but is outweighed by mitigating
  factors, but this workaround would be foreclosed by § 3593(a)’s requirement that the government only seek the
  death penalty if the attorney for the government “believes that the circumstances of the offense are such that a
  sentence of death is justified.”
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  “punishable by death,” and Kostadinov, charged with espionage crimes for which death was

  authorized under a statute considered likely to be unconstitutional, appealed the denial of bail in

  his case. 721 F.2d at 412. The Second Circuit found that the government’s decision not to seek

  the death penalty (due to doubts about its constitutionality) did not affect the status of the crime

  as “punishable by death.”6 This approach is of course contrary to Parrino’s reasoning, because

  the government’s failure to seek the death penalty in Kostadinov prevented the jury from

  imposing a death sentence and thus the decisionmaker did not have the discretion to impose the

  death penalty. As the court in Kostadinov construed statutory language identical to the language

  at issue in Parrino,7 the result in Kostadinov appears to abrogate Parrino’s reading of the

  meaning of an “offense punishable by death.”

                    It is true that Kostadinov’s holding might not apply to all uses of the phrase

  “punishable by death,” but it does apply to the phrase as it appears in§ 3281. The court in

  Kostadinov asked whether the term “punishable by death” was intended to refer to the class of

  offense or the severity of the punishment. That is, Kostadinov asked whether the special

  provisions for offenses punishable by death used the availability of death as a proxy for the

  seriousness of the offense or whether they instead served a function relevant only to the actual

  infliction of the death penalty. 721 F.2d at 412 (citing United States v. Watson, 496 F.2d 1125,

  1128 (4th Cir. 1973)).8 Kostadinov determined that the bail statute referred to the class of


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                     The term the court used more often in its opinion was “capital,” but it defined this term as
  synonymous with “punishable by death.” Kostadinov, 721 F.2d at 412. In any event, the actual statutory term in the
  bail statute was an “offense punishable by death,” 18 U.S.C. § 3148 (1968), while only the title of the provision
  referred to “capital” cases. Similarly, 18 U.S.C. § 3281, at issue here and in Parrino, at all relevant times referred to
  any “offense punishable by death” in the main text, and “capital” offenses in the provision’s title.
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                     See supra note 6 (describing statutory language).
            8
                     To illustrate the distinction, some circuits have found that the purpose of 18 U.S.C. § 3005,
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  offense, not merely the severity of possible punishment. Similarly,§ 3281 uses “punishable by

  death” to refer to the nature of the offense, not the type of punishment actually imposed. See

  United States v. Provenzano, 423 F. Supp. 662, 666 (S.D.N.Y. 1976) (concluding that while the

  statute authorizing the death penalty was unconstitutional, the offense was “punishable by death”

  for statute of limitations purposes because§ 3281 used “punishable by death” in order to refer to

  the nature of the offense, not to respond to the penalty imposed), aff’d, 556 F.2d 562 (2d Cir.

  1977).

                    The defendant seeks to distinguish Kostadinov from Parrino by arguing that as a

  practical matter one cannot make a bail determination after waiting for a jury to fulfill all the

  procedural requisites governing the imposition of the death penalty. This is true, but not

  relevant. In neither case did the court undertake a wide-ranging policy analysis untethered to the

  statutory language. But in any event the policy outcomes of Parrino’s approach to statutes of

  limitations (taken to its inevitable conclusion that the government must actually seek death in

  order to bring a prosecution after 5 years) are at least as perverse as those that would follow from

  adopting Parrino with respect to the bail statute (which would simply render the special capital

  bail provision a dead letter).



  permitting anyone indicted for a capital crime to have two court-appointed attorneys, was based on the severity of
  punishment -- that is, the need to prevent anyone from actually being executed without having enjoyed the
  procedural protections afforded by a second attorney. E.g., United States v. Dufur, 648 F.2d 512, 515 (9th Cir.
  1980). Such circuits have therefore interpreted the impossibility of actually executing the prisoner to render the case
  not capital for § 3005 purposes. Dufur, 648 F.2d at 515 (“Since the statute’s purpose, in our opinion, derives from
  the severity of the punishment rather than the nature of the offense, the elimination of the death penalty eliminates
  Dufur’s right under 18 U.S.C. § 3005 to a second court-appointed attorney.”). The Fourth Circuit, however, has
  found § 3005 to be based on the nature of the offense as well -- that is, the difficult and complicated nature of
  murder cases. See Watson, 496 F.2d at 1128. Those courts have found that § 3005 continues to apply even where
  there is no possibility of the death penalty’s actual imposition. Id. at 1129; see also United States v. Boone, 245
  F.3d 352, 359 (4th Cir. 2001) (holding Watson survives amendment to § 3005).
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                 Perhaps one might argue that applying Parrino’s reasoning to Kostadinov

  produces a result, if not worse in policy terms, more at odds with the statutory scheme. On this

  view, it would be strange for a bail provision to be, by its terms, unable to be satisfied because it

  requires a finding that cannot be made until the end of trial. This is no more strange than

  Parrino’s reading of§ 3281. Section 3281, it must be remembered, speaks only of the propriety

  of an indictment based on the content of that indictment. See§ 3281 (“An indictment for any

  offense punishable by death may be found at any time without limitation.”). Parrino’s reasoning

  embraces the proposition that the contents of an indictment (the character of the offense the

  indictment is “for”) may change after the indictment is found and brought, rendering the finding

  of the indictment retroactively untimely. If the finding of an indictment can persist in an

  indeterminate timely or untimely state until the jury becomes prepared to decide whether or not

  to impose a death sentence, then why cannot a bail determination be indeterminately proper or

  improper in a similar manner? Such profound puzzles no doubt contributed to the Kostadinov

  court’s abandonment of Parrino’s methodology. There is no basis for concluding that Parrino

  survives Kostadinov’s reevaluation of the meaning of an “offense punishable by death.”

                 Payne’s other argument is that Apprendi v. New Jersey, 530 U.S. 466, 476 (2000),

  and its progeny require me to find this prosecution time-barred. The argument, seen in its

  strongest light, seems to be that Apprendi and Ring v. Arizona, 536 U.S. 584, 589 (2002) require

  statutory aggravating factors to be charged in an indictment. See Apprendi, 530 U.S. at 476

  (“‘[A]ny fact (other than a prior conviction) that increases the maximum penalty for a crime

  must be charged in the indictment, submitted to a jury, and proven beyond a reasonable doubt.’”


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  (quoting Jones v. United States, 526 U.S. 227, 243 n.6 (1999) (emphasis added)); see also Ring,

  536 U.S. at 589 (applying Apprendi to aggravating factors relevant to death sentence). The

  argument concludes that the indictment here was not “for” an “offense punishable by death”

  within the meaning of§ 3281 because by not including an aggravated factor, it foreclosed the

  possibility of the imposition of a death sentence even at the time of indictment.

                 The defendants’ constitutional claim is accurate, but it only applies here if one

  already accepts Parrino’s now-repudiated conclusion that an offense is only “punishable” by

  death when no limits remain on the decisionmaker’s discretion to impose a death sentence.

  While the requirement that aggravating factors must be charged in an indictment in order to

  authorize the death penalty does eliminate the strangeness of Parrino’s retroactive analysis

  described above, Kostadinov repudiated not merely this retroactivity but also the notion that an

  offense is only “punishable” by death if the death sentence can actually be imposed on that

  particular defendant. In Kostadinov, the possibility of actual imposition of the death sentence

  was also foreclosed at the time of the bail determination by the government’s decision not to

  seek the death penalty in light of the presumed unconstitutionality of the death penalty statute,

  721 F.2d at 412, but this did not strip the offense of its capital character. In Kostadinov, as here,

  the statute’s reference to offenses “punishable by death” was intended as a proxy to capture the

  seriousness of the class of offense, not to provide for special procedures in cases where death

  might actually be imposed. Therefore, Kostadinov teaches that an offense is “punishable by

  death” if death is an authorized penalty for the offense, even if at the relevant time (here the time

  of indictment) there is no possibility of the death sentence actually being imposed.


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                    This interpretation of§ 3281 raises no constitutional issues. The Sixth Amendment

  rights at issue in Ring and Apprendi are not implicated here, as the jury trial right is not impinged

  by the contents of an indictment. This reading also raises no concerns under the Fifth

  Amendment right to an indictment. To the extent that the right to an indictment includes a right

  to have the indictment allege a basis for finding the prosecution not time-barred, the indictment

  here does just that. It alleges that the defendants violated§ 1959(a)(1), and this offense is

  “punishable by death” within the meaning of§ 3281, establishing that no statute of imitations bars

  the prosecution.

                    Accordingly, I reject the defendants’ contentions that their charges on murder in

  aid of racketeering were time-barred.

                    ii.      The Racketeering Motive in the Clemons Murder

                    Hunter and Payne were convicted of violating 18 U.S.C.§ 1959(a)(1) by

  murdering Clemons. 18 U.S.C.§ 1959(a)(1) criminalizes murder only when the offense was

  committed, inter alia, “for the purpose of . . . maintaining or increasing position in an enterprise

  engaged in racketeering activity.” Hunter argues that there was insufficient evidence to permit a

  reasonable jury to conclude that Clemons was murdered to maintain or increase Hunter’s

  position in the enterprise as opposed to merely in retaliation for Clemons’s affair with enterprise

  leader Charles Thomas’s girlfriend.9

                    In order to show that a violent crime was committed in aid of racketeering, the

  government need not prove that the motive to maintain or increase position in an enterprise “was


           9
                     Payne does not explicitly make this argument, but as stated below I find that the evidence was
  sufficient to prove a racketeering motive behind his involvement in Clemons’s murder as well.
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  the defendant’s sole or principal motive.” United States v. Concepcion, 983 F.2d 369, 381 (2d

  Cir. 1992). Rather, the connection to racketeering can be established if “the jury could properly

  infer that the defendant committed his violent crime because he knew it was expected of him by

  reason of his membership in the enterprise or that he committed it in furtherance of that

  membership.” Id. This inference is permissible in a case where “the defendant, as a leader

  within the enterprise, was expected to act based on the threat posed to the enterprise and that

  failure to do so would have undermined his position within the enterprise.” United States v.

  Dhinsa, 243 F.3d 635, 671 (2d Cir. 2001) (citing cases).

                    In this case, the government presented sufficient evidence to enable a reasonable

  jury to conclude that Hunter and Payne murdered Clemons in order to maintain or increase their

  positions in the enterprise. While the jury heard that Thomas suspected Clemons of stealing

  from the enterprise, there is no indication that Hunter or Payne were made aware of that

  suspicion. Tr. 1328-29.10 I also reject the government’s argument that Clemons’s disrespect for

  Thomas (by sleeping with his girlfriend) damaged the reputation of the enterprise, thus leading

  Hunter and Payne to defend the enterprise against the “threat” posed by this affair. See United

  States v. Jones, 291 F. Supp. 2d 78, 89 & n.8 (D. Conn. 2003) (rejecting the view that disrespect

           10
                      The government suggests that the testimony indicating that Thomas shared his suspicions with
  other enterprise members John Hatcher, Tr. 705, and Henry Harley, Tr. 1972, coupled with the testimony indicating
  that Thomas shared his other suspicions about Clemons with Hunter, Tr. 1328, 1339, permits a reasonable jury to
  infer that Thomas shared his suspicions about Clemons’s theft with Hunter. Respecting the freedom of the jury to
  make credibility assessments, I agree that this testimony allows a reasonable jury to conclude that the preponderance
  of the evidence indicates that Thomas shared his suspicions about Clemons’s theft with Hunter. But it does not
  follow, and I decline to find, that a reasonable jury could find that because Thomas told other people his suspicions
  about Clemons’s theft, and Thomas told Hunter his suspicions about other misdeeds by Clemons, therefore it is
  proven beyond a reasonable doubt that Thomas told Hunter his suspicions about Clemons’s theft. See Glenn, 312
  F.3d at 70 (“[I]f the evidence viewed in the light most favorable to the prosecution gives equal or nearly equal
  circumstantial support to a theory of guilt and a theory of innocence, then a reasonable jury must necessarily
  entertain a reasonable doubt.” (internal quotation marks omitted)).
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  not related to crime can be a sufficient threat to an enterprise to sustain a racketeering motive).

                 However, the jury heard evidence that Clemons was suspected of having

  cooperated with the police in a prior criminal case, Tr. 1325, 1328, 1339; that Hunter and Payne

  both disliked Clemons for this reason, Tr. 1325, 1328; and that Hunter and Payne explicitly

  referred to this suspected cooperation in their attempt to convince Thomas that Clemons should

  be killed. Tr. 1339. Crediting this evidence, especially in light of the fact that Hunter and Payne

  were more aggressive in defending the slight to Thomas’s reputation than Thomas himself was, a

  reasonable jury could find, beyond a reasonable doubt, that Hunter and Payne used Clemons’s

  affair as a pretext to secure Thomas’s agreement to the killing, while their true reason for the

  killing was their longstanding suspicion that Clemons had cooperated with the police. The fact

  that the killing happened shortly after the affair was discovered does not negate this inference --

  a reasonable jury could conclude that Hunter and Payne did not wish to take action against

  Clemons without Thomas’s agreement, and they seized the affair as their opportunity.

  Eliminating a suspected informant can constitute a killing intended to maintain a defendant’s

  position in an enterprise against the obvious threat posed by one willing to cooperate with the

  police. Therefore, there was sufficient evidence to support the convictions on this count.

         3.      The Statute of Limitations and the Racketeering and Racketeering Conspiracy
                 Charges

                 Hunter argues that he cannot be convicted of the offense of racketeering or

  racketeering conspiracy because none of the acts supporting those convictions occurred within

  the five-year limitations period. One of RICO’s substantive provisions makes it a crime to

  “conduct or participate, directly or indirectly, in the conduct of” the affairs of an enterprise

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  affecting interstate commerce “through a pattern of racketeering activity.” 18 U.S.C.§ 1962(c).

  A “pattern of racketeering activity” consists of at least two racketeering predicate acts, see 18

  U.S.C.§ 1961(1) (enumerating predicate acts), if those acts are sufficiently continuous and related

  to one another to constitute a “pattern.” See, e.g., United States v. Aulicino, 44 F.3d 1102, 1110

  (2d Cir. 1995) (“[I]n order to establish a pattern of racketeering activity, a party must show that

  the racketeering predicate acts are not isolated or sporadic but are related, and ‘that the predicates

  themselves amount to, or that they otherwise constitute a threat of, continuing racketeering

  activity.’” (quoting H.J., Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 240 (1989))). RICO’s

  racketeering conspiracy provisions also criminalize conspiring to violate§1962(c). § 1962(d). I

  will address the timeliness of the racketeering and the racketeering conspiracy charges in turn.11

                    i.      The Substantive Racketeering Charge

                   A prosecution for violating§ 1962(c) is untimely unless the defendant committed

  at least one predicate act within the limitations period, United States v. Wong, 40 F.3d 1347,

  1367 (2d Cir. 1994), which in this case is five years, 18 U.S.C.§ 3282(a).

                   Of the six predicate acts the jury found Hunter had committed, only one --

  conspiracy to distribute crack and powder cocaine -- was arguably within the limitations period.

  Hunter argues that he could not possibly have committed this predicate act within the limitations

  period, as he was incarcerated five years prior to the indictment and he claims that he did not

  engage in drug trafficking after his release.

          11
                     For the reasons stated in section B.2, infra, I grant Hunter a new trial on the racketeering and
  racketeering conspiracy charges. However, this does not relieve me of the obligation of deciding whether or not the
  jury’s verdict finding Hunter guilty of racketeering and racketeering conspiracy was supported by sufficient
  evidence. If I were to find that the verdict was not supported by sufficient evidence as to those counts, the remedy
  would be a judgment of acquittal, not a new trial.
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                 The statute governing the drug conspiracy the jury found proven does not require

  proof of an overt act. 21 U.S.C.§ 846. For the purposes of statutes of limitations, such

  conspiracies terminate not when the last overt act is performed but only upon abandonment or

  accomplishment of their purposes. See, e.g., United States v. Grammatikos, 633 F.2d 1013, 1023

  (2d Cir. 1980) (“For limitations purposes, the [§ 846] conspiracy may be deemed terminated

  when, in a broad sense, its objectives have either been accomplished or abandoned, not when its

  last overt act was committed.”).

                 A conspirator’s membership in a conspiracy, similarly, is presumed to continue

  until he affirmatively withdraws or the conspiracy ends. See, e.g., United States v. Spero, 331

  F.3d 57, 60 (2d Cir. 2003) (noting that members of a conspiracy “continue to be conspirators

  until there has been an affirmative showing that they have withdrawn” (internal quotation marks

  omitted)). I address the question of whether or not Hunter was entitled to a jury instruction on

  withdrawal in section B.2, infra, but there was sufficient evidence for a jury to conclude that

  Hunter did not withdraw, and the conspiracy did not end, more than five years before the

  indictment was returned. See, e.g., Tr. 768-71, 1456, 1464-66 (evidence that Hunter received

  money derived from enterprise activity after his release from incarceration); Tr. 1455-57, 1463

  (evidence that Hunter sought to acquire a gun from enterprise members within the limitations

  period); see also United States v. Agueci, 310 F.2d 817, 839 (2d Cir. 1962) (“[W]hile arrest or

  incarceration may constitute a withdrawal from a conspiracy, it does not follow that in every

  instance it must.”). Thus, there was sufficient evidence for the jury to conclude that the

  presumption of continuity was not rebutted and that Hunter thus participated in the predicate


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  narcotics trafficking conspiracy within the limitations period.

                 It is a close question, however, whether Hunter’s presumed participation in the

  conspiracy after his incarceration is sufficient to extend the racketeering predicate act into the

  limitations period. Hunter argues that a predicate act occurs within the limitations period for the

  purposes of 18 U.S.C.§ 1962(d) only if the defendant actually takes actions amounting to a

  predicate act inside the limitations period, and not if he merely fails to withdraw from a

  conspiracy he joined outside the limitations period. United States v. Persico contains some

  language supporting this interpretation of§ 1962(c). 832 F.2d 705, 714 (2d Cir. 1987) (“The

  focus of section 1962(c) is on the individual patterns of racketeering engaged in by a defendant,

  rather than the collective activities of the members of the enterprise, which are proscribed by

  section 1962(d)”). However, United States v. Spero indicates that a RICO predicate act may

  extend into the limitations period due solely to the defendant’s failure to withdraw from a

  conspiracy entered earlier. 331 F.3d at 60. Although Spero dealt with a prosecution under§

  1962(d), which does not require proof of an overt act within the limitations period, Persico, 832

  F.2d at 713, the court in Spero explicitly declined to rely on this feature of§1962(d) in deciding

  the opinion. The defendant in Spero objected that§ 1962(d) should not be read to relieve the

  government from the need to prove a predicate act within the limitations period -- effectively

  asking the court to revisit the precedent indicating that proof of a predicate act is unnecessary.

  Spero, 331 F.3d at 60. The court found it unnecessary to reach the issue, finding that Anthony

  Spero committed a predicate act within the limitations period because the charged loansharking

  conspiracy was presumed to continue into the limitations period. Id. at 60-61. The government


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  was entitled to such a presumption of continuity because the loansharking conspiracy statute, just

  like the narcotics trafficking conspiracy statute here, did not require proof of an overt act. Id. at

  60-61. Therefore, here as in Spero, there is sufficient evidence to support the jury’s finding that

  Hunter committed a racketeering act -- continued participation in the narcotics trafficking

  conspiracy -- within the limitations period.

                 ii.     The Racketeering Conspiracy Charge

                 As§ 1962(d), prohibiting conspiracies to commit the offense of racketeering, also

  does not contain an overt act requirement, it is subject to the same presumption of continuity

  afforded to drug trafficking conspiracies. Persico, 832 F.2d at 713 (“Because the RICO

  conspiracy statute does not require proof of an overt act, we believe that the crime of RICO

  conspiracy is not complete until the purposes of the conspiracy either have been accomplished or

  abandoned.”). That is, a prosecution for a racketeering conspiracy offense is timely so long as

  the defendant did not withdraw, and the conspiracy did not terminate, prior to the start of the

  limitations period. Just as there was sufficient evidence to sustain a jury finding that Hunter did

  not withdraw from the drug trafficking conspiracy, there was also sufficient evidence to sustain a

  jury finding that Hunter did not withdraw from the racketeering conspiracy. Accordingly,

  Hunter is not entitled to a judgment of acquittal on the racketeering conspiracy charge.

         4.      The Existence of A Single Enterprise

                 Hunter argues, in his pro se submissions, that there was insufficient evidence to

  support a finding that a single enterprise existed spanning the entire charged period. Payne also




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  makes this claim and provides no evidence, argument, or authority to support it.12 I am not

  persuaded.

                    The charges of racketeering, racketeering conspiracy, and violent crimes in aid of

  racketeering all involve an “enterprise,” defined with respect to racketeering offenses as “any

  individual, partnership, corporation, association, or other legal entity, and any union or group of

  individuals associated in fact although not a legal entity.” 18 U.S.C.§ 1961(4).13 An enterprise is

  proved by “evidence of an ongoing organization, formal or informal, and by evidence that the

  various associates [constituting the enterprise] function as a continuing unit.” United States v.

  Turkette, 452 U.S. 576, 583 (1981). The Second Circuit has consistently held that “proof of

  various racketeering acts may be relied on to establish the existence of the charged enterprise.”

  United States v. Coonan, 938 F.2d 1553, 1559-60 (2d Cir. 1991) (citing United States v.

  Ferguson, 758 F.2d 843, 853 (2d Cir. 1985)); see also Coonan, 938 F.2d at 1559 (“[T]he

  existence of an association-in-fact is oftentimes more readily proven by what it does, rather than

  by abstract analysis of its structure.” (emphasis in original) (internal quotation marks omitted)).

                    The government presented ample evidence indicating that an enterprise existed

  and functioned as a continuing unit throughout the period charged in the indictment. Witnesses

  testified as to the core membership of the enterprise including John Hatcher, Thomas, Hunter and


           12
                      At oral argument, Payne’s counsel assured me that this minimalist advocacy was the result of a
  considered decision, though he did not indicate his reasons for proceeding in this fashion.
            13
                      The violent crimes in aid of racketeering statute defines “enterprise” identically except that it
  excludes the word “individual,” and also builds the jurisdictional requirement of an effect on interstate commerce
  into the definition of “enterprise” as opposed to appending this requirement to the substantive offenses involving
  enterprises. See 18 U.S.C. § 1959(b)(2) (“‘[E]nterprise’ includes any partnership, corporation, association, or other
  legal entity, and any union or group of individuals associated in fact although not a legal entity, which is engaged in,
  or the activities of which effect, interstate commerce.”). Neither variation from the § 1961 definition is material
  here.
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  others; the later addition of other core members; the enterprise’s objective of enriching its

  membership by selling narcotics and committing violent robberies; and the enterprise’s practice

  of protecting its membership by murdering suspected informants and rivals, by bailing its

  members out of jail, and by using the same attorneys for criminal defense. The jury’s finding

  that a single enterprise existed and lasted throughout the charged period was supported by

  sufficient evidence.14

           5.       The Heroin Trafficking Conspiracy

                    Payne contends that there is insufficient evidence to support the jury’s finding that

  he is guilty of a conspiracy to distribute heroin seized from Newton within the limitations period.

  A conspiracy charged under a statute that does not require proof of an overt act, such as the

  narcotics trafficking conspiracy alleged here, is “deemed terminated when, in a broad sense, its

  objectives have either been accomplished or abandoned, not when its last overt act was

  committed.” Grammatikos, 633 F.2d at 1023. While the jury heard ample evidence that

  members of the enterprise continued selling drugs well into the limitations period, e.g., Tr. 771-

  75,15 the charged heroin distribution conspiracy concerned only a specific quantity of heroin,

  stolen from Pedro Newton when he was murdered on January 27, 2000. Tr. 2795-98. Payne

  argues that the government has produced insufficient evidence to support the jury’s finding that

  the conspiracy’s purpose -- the distribution of this heroin -- was not accomplished until after



           14
                     Thus, this case is unlike those Hunter cites where the proof at trial does not support the finding of
  a single conspiracy, leading to a variance from the indictment. Cf., e.g., United States v. McDermott, 245 F.3d 133,
  139 (2d Cir. 2001) (finding a variance where evidence at trial was insufficient to support a finding of a single
  conspiracies).
            15
                     For this reason, I reject Payne’s cursory challenge to the sufficiency of the evidence supporting the
  jury’s verdict finding him guilty of conspiracy to distribute crack and powder cocaine within the limitations period.
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  March 8, 2000.

                 The government’s evidence indicated that just after Newton was killed, Thomas

  sold the heroin taken from Newton. Tr. 737, 1412. The government’s theory as to how the

  conspiracy to distribute the heroin took place within the limitations period is that Payne received

  the proceeds of the heroin sale in installments, with the later installments being paid within the

  limitations period. There is no direct evidence regarding when the installment payments were

  made. Hatcher testified that the proceeds for the sale were $45,000 paid in installments, and that

  after two conversations one week apart, he demanded payment in full, but did not indicate when

  those conversations were, and did not indicate when he actually received his last payment. Tr.

  738-40. Thomas testified that the proceeds were $30,000, that the first payment of $10,000 was

  made immediately, and that the purchaser told him to return every alternate day for installments.

  Tr. 1412. This evidence would be sufficient to enable a jury to find that a preponderance of the

  evidence indicates that the payments lasted the approximately 6 weeks until March 8, 2000, but

  is not sufficient to support a finding beyond a reasonable doubt that the payments lasted that

  long. The evidence produced at trial here gives “equal or nearly equal circumstantial support” to

  a theory of guilt (that the installment payments lasted until March 8, 2000) and a theory of

  innocence (that the last payment was made before that date), and thus “a reasonable jury must

  necessarily entertain a reasonable doubt.” Glenn, 312 F.3d at 70 (internal quotation marks

  omitted). Therefore, there was insufficient evidence to support the jury’s finding that Payne

  conspired to distribute heroin within the limitations period.




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         6.      Firearm Possession

                 Hunter argues that there was insufficient evidence to support the jury’s finding

  that he possessed a firearm within the limitations period. The government produced voluminous

  evidence that Hunter was routinely armed in connection with his criminal activity during the

  period before his incarceration, e.g., Tr. 395, 959-61 (Hunter arrested in 1987 with a handgun);

  Tr. 394, 378-85 (Hunter arrested in 1988 with a handgun); Tr. 1018-28 (Hunter arrested in 1990

  in enterprise location with several firearms); Tr. 1062-66 (Hunter arrested in 1992 with several

  firearms); evidence that Hunter used firearms in enterprise-related violence before his

  incarceration, e.g., Tr. 592, 1193 (Hunter shot rival drug dealer); Tr. 604-06, 1205-11 (Hunter

  shot at rival drug dealer); Tr. 318-23 (Hunter shot rival drug dealer); and evidence that he sought

  a firearm for personal protection after his release (and thus in the limitations period), Tr. 1456-

  57, 1463, 1470-71, but no evidence that he actually obtained a firearm during the limitations

  period. See Tr. 1471 (noting that Thomas never gave Hunter the firearm he requested). This is

  far from sufficient to enable a reasonable jury to find beyond a reasonable doubt that Hunter

  actually possessed a firearm within the limitations period. Cf. Glenn, 312 F.3d at 64, 70 (finding

  insufficient evidence to support the jury’s finding that the defendant killed the victim when the

  jury heard evidence that many people, including the defendant, had a motive to do it; that the

  defendant was the last person seen with the victim; that the defendant possessed a handgun and

  departed the general area of the shooting shortly after the shooting; that the defendant reacted

  casually when informed of the shooting; and that the defendant later lied to the police about his

  activities around the time of the shooting).


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                 Payne contends, again without producing any argument, authority, or evidence,

  that the government produced insufficient evidence to support the jury’s finding that he

  possessed a firearm either in connection with narcotics trafficking or within the limitations

  period. This minimalist objection is far from persuasive. The government submitted ample

  evidence to support a jury’s finding that Payne possessed a firearm in connection with narcotics

  trafficking and within the limitations period. The jury heard testimony that Payne kept a stash of

  guns, drugs, and money near a location where he sold crack cocaine, Tr. 743-44, 757-58, 1427-

  37; that Hatcher purchased a .38 handgun for Payne, who later attempted to have its firing pin

  repaired, Tr. 759-60; that on January 29, 2003, federal agents raided an apartment used by Payne

  and seized a .38 handgun which appeared to have had repairs attempted on its firing pin, Tr.

  2351-52; and that the agents seized a plate and razor blades covered with crack residue along

  with the firearm in that raid. This evidence was more than sufficient to enable the jury to find,

  beyond a reasonable doubt, that Payne possessed a firearm in connection to narcotics trafficking

  within the limitations period.

         7.      Other Challenges

                 Hunter, in his pro se submissions, argues at length that the government’s

  accomplice witnesses were not credible. Whatever their merit, these arguments were properly

  directed toward the jury. The accomplice witnesses were certainly not so patently unbelievable

  to allow me to substitute my assessment of their credibility for that of the jury.

                 Outdoing his other challenges to the sufficiency of the evidence in opacity, Payne

  notes that his motion is intended to preserve all possible challenges to the sufficiency of the


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  government’s evidence, including those on unspecified grounds. This has not led me to discover

  any additional offenses for which the evidence is insufficient to sustain a conviction.

  B.     Hunter and Payne’s Rule 33 Motions

         1.      Legal Standard

                 Federal Rule of Criminal Procedure 33(a) provides that: “[u]pon the defendant’s

  motion, the court may vacate any judgment and grant a new trial if the interest of justice so

  requires.” “Generally, a motion for a new trial ‘should not be granted unless the trial court is

  convinced that the jury has reached a seriously erroneous result or that the verdict is a

  miscarriage of justice.’” Smith v. Carpenter, 316 F.3d 178, 183 (2d Cir. 2003) (quoting Atkins v.

  N.Y. City, 143 F.3d 100, 102 (2d Cir. 1998)). I have “broad discretion . . . to set aside a jury

  verdict and order a new trial to avert a perceived miscarriage of justice.” United States v.

  Ferguson, 246 F.3d 129, 133 (2d Cir. 2001) (quoting United States v. Sanchez, 969 F.2d 1409,

  1413 (2d Cir. 1992)). Though I am entitled to “weigh the evidence and in so doing evaluate for

  [my]self the credibility of the witnesses,” Sanchez, 969 F.2d at 1413 (internal quotation marks

  omitted), I “must strike a balance between weighing the evidence and credibility of witnesses

  and not ‘wholly usurp[ing]’ the role of the jury,” Ferguson, 246 F.3d at 133 (quoting Autuori,

  212 F.3d at 120). While I have “broader discretion to grant a new trial under Rule 33 than to

  grant a motion for acquittal under Rule 29,” I “nonetheless must exercise the Rule 33 authority

  ‘sparingly’ and in ‘the most extraordinary circumstances.’” Ferguson, 246 F.3d at 134 (quoting

  Sanchez, 969 F.2d at 1414).




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         2.      Withdrawal from the Conspiracy

                 Hunter argues that his incarceration on April 30, 1999 rendered him eligible for

  an instruction on withdrawal from the racketeering conspiracy and the drug trafficking

  conspiracy. This is significant because he was in prison five years before the indictment was

  brought, and did not commit any other predicate acts after his release. If a jury found that he

  withdrew from the conspiracy upon his incarceration, prosecution on his racketeering conspiracy

  and drug trafficking conspiracy charges would be time-barred. Further, because the drug

  trafficking conspiracy was the only predicate act that the jury found extended into the limitations

  period, his withdrawal upon incarceration, if found by a jury, would mean that he committed no

  predicate acts within the limitations period and thus could not be prosecuted on the substantive

  racketeering count either. See Wong, 40 F.3d at 1367 (noting that a substantive RICO

  prosecution is untimely unless the defendant has committed at least one act within the limitations

  period). I did not give the jury an instruction on withdrawal.

                  i.     Standard of Review

                 Hunter did not request an instruction on withdrawal at the close of the evidence.

  After both sides’ summations, and prior to the government’s rebuttal, Hunter asked for an

  instruction on withdrawal “from the enterprise.” Tr. 2988. I declined to rule on the application

  until the next day, when I rejected it based on the fact that it was requested after the close of the

  evidence and on my view that he was not entitled to such an instruction. Tr. 3036-37. Hunter

  objected to my denial of the request. Tr. 3037. The jury was charged and retired to deliberate.

  During its deliberations, it issued a note asking several questions very precisely focused on when


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  Hunter’s liability for group criminality ended.16 This prompted Hunter to ask for a charge of

  withdrawal from the conspiracy, which I considered separate from a request for a charge of

  withdrawal from the enterprise and denied as procedurally barred and not warranted. Tr. 3180-

  83.

                    Federal Rule of Criminal Procedure 30(a) requires that requests for instructions be

  made at or before the close of the evidence. Rule 30(c) requires that objections to the failure to

  give a requested instruction inform the court of the objection and the grounds before the jury

  retires to deliberate. Failure to comply with Rule 30(c) precludes appellate review except for

  plain error. Although at the time I considered a request for an instruction on withdrawal from the

  enterprise to be distinct from a request for instruction on withdrawal from the conspiracy, upon

  reflection, I find that the requests are sufficiently similar for me to consider the request for a

  charge on withdrawal from the enterprise to cover a request for a charge on withdrawal from the

  conspiracy.17 However, since the initial request was made after the close of the evidence in


           16
                    The text of the note was:

                    Please affirm whether the following statements are true according to the law.
                    One, a person is guilty of a racketeering charge if he has committed two or more
                    acts in furtherance of racketeering with at least one of these acts completed after
                    the statute of limitations. Two, the term conspiracy has exactly the same
                    meaning each time it is used throughout the verdict sheet. Three, a conspiracy
                    ends when its goals are either accomplished or abandoned. Four, does the
                    termination of the conspiracy or the end of one’s participation in said conspiracy
                    constitute the completion of the act under the racketeering? Would you please
                    repeat your initial instructions on Counts One and Two [RICO substantive and
                    RICO conspiracy]?

  Tr. 3177-78.
           17
                      Indeed, the only way a charge on withdrawal from an enterprise would make sense would be in
  instructing the jury on withdrawal from an 18 U.S.C. § 1962(d) conspiracy to violate § 1962(c)’s prohibition on
  conducting, or participating in the conduct of the affairs of an enterprise through a pattern of racketeering activity.
  As discussed in section B.2.iv, infra, a defendant’s argument that he was not sufficiently involved with the affairs of
  the enterprise itself, as opposed to the conspiracy to conduct the affairs, calls for instruction only on the elements of
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  violation of Rule 30, I will analyze my failure to give the instruction as plain error. See United

  States v. Watson, 894 F.2d 1345, 1350 (D.C. Cir. 1990) (analyzing refusal to give belatedly-

  requested charge under plain error standard); see also United States v. Hernandez, 730 F.2d 895,

  900 (2d Cir. 1984) (affirming district court’s rejection of request for instruction made after close

  of evidence where rejection was not error); United States v. Tourine, 428 F.2d 865, 868 (2d Cir.

  1970) (upholding denial of belated requests for jury instruction without specifying whether plain

  error analysis applies); Fed. R. Civ. P. 30(c) (prescribing plain error review for instructions that

  were not objected to prior to deliberation).18

                    Plain error requires “‘(1) error; (2) that is plain; and (3) that affect[s] substantial

  rights. If all three conditions are met, an appellate court may then exercise its discretion to

  notice a forfeited error, but only if (4) the error seriously affect[s] the fairness, integrity, or

  public reputation of judicial proceedings.’” United States v. Thomas, 274 F.3d 655, 667 (2d Cir.

  2001) (alterations in original) (internal citations omitted) (quoting Johnson v. United States, 520

  U.S. 461, 466-67 (1997)).

                    ii.      Plain Error

                    A conspirator’s membership in a conspiracy is presumed to continue until he

  affirmatively withdraws or the conspiracy ends. United States v. Flaharty, 295 F.3d 182, 192

  (2d Cir. 2002). The defendant has the burden of proving withdrawal. United States v. Berger,


  the offense, not on any “withdrawal,” due to the fact that the government already has the burden of proving the
  defendant’s continued involvement with the enterprise beyond a reasonable doubt.
            18
                     The government argues that regardless of what standard the court of appeals will use to review my
  decision, I should simply consider Rule 33’s standard of “whether letting a guilty verdict stand would be a manifest
  injustice.” Sanchez, 969 F.2d at 1414. It is true that the standard for granting a motion pursuant to Rule 33 differs
  from the plain error standard, but as I conclude that I committed plain error in refusing to give this instruction, Rule
  33’s requisites are necessarily satisfied.
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  224 F.3d 107, 118 (2d Cir. 2000). In order for a court to find that a conspirator withdrew, it must

  find more than “mere cessation of activity” by the defendant; generally, “there must also be

  affirmative action, either the making of a clean breast to the authorities or communication of

  abandonment in a manner reasonably calculated to reach co-conspirators.” Berger, 224 F.3d at

  118 (quoting United States v. Borelli, 336 F.2d 376, 388 (2d Cir. 1964)). Significantly, however,

  a defendant who is incarcerated during the course of a conspiracy “is entitled to a jury instruction

  on withdrawal.” United States v. Salameh, 152 F.3d 88, 150 (2d Cir. 1998) (per curiam); see

  also United States v. Panebianco, 543 F.2d 447, 454 n.5 (2d Cir. 1976) (“[W]hether an

  imprisonment constitutes withdrawal from the conspiracy must be decided by the jury in light of

  the length and location of the internment, the nature of the conspiracy, and any other available

  evidence.” (emphasis added)). As Hunter was incarcerated during the course of the conspiracy,

  he was entitled to a jury instruction on withdrawal. This satisfies the requirements of error that is

  plainly apparent under controlling law. See United States v. Gilmore, 471 F.3d 64, 66 (2d Cir.

  2006) (finding error to be plain because the holding of the controlling case was clear).

                 iii.    Effect on Substantial Rights and on the Fairness, Integrity, or Public
                         Reputation of Judicial Proceedings

                 For error to be “plain error,” it must have an effect on the defendant’s substantial

  rights and must seriously affect the fairness, integrity, or public reputation of judicial

  proceedings. An error has an effect on substantial rights when it is prejudicial and affects the

  outcome of the court’s proceedings; that is, when the defendant can show “a reasonable

  probability that, but for [the error claimed], the result of the proceeding would have been

  different.” United States v. Dominguez Benitez, 542 U.S. 74, 81-82 (2004). Whether error

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  seriously affects the fairness, integrity, or public reputation of judicial proceedings seems to be

  analyzed on a case-specific basis. Compare Thomas, 274 F.3d at 671-73 (finding that an

  Apprendi violation seriously affected the fairness and public reputation of judicial proceedings

  when the defendant was prepared to contest the drug quantity), with United States v. Cotton, 535

  U.S. 625, 633-34 (2002) (finding that an Apprendi violation as applied to an indictment did not

  seriously affect the fairness, integrity or public reputation of judicial proceedings when the

  evidence against the defendant regarding drug quantity was “overwhelming” and “essentially

  uncontroverted”).19

                    The government argues that the failure to instruct the jury on withdrawal was of

  little consequence because a jury would have been unlikely, and possibly unable, to find that

  Hunter withdrew. I disagree. The government argues that Hunter presented no evidence which

  would have entitled the jury to find that Hunter committed an “affirmative action” sufficient to

  withdraw from the conspiracy, because mere cessation of criminal activity is not enough.

  Borelli, 336 F.2d at 388. The rule, however, is that “a conspirator who presents evidence of his

  imprisonment during the course of the conspiracy is entitled to a jury instruction on withdrawal,”

  Salameh, 152 F.3d at 150; accord Flaharty, 295 F.3d at 193, not that he is entitled to a jury

  instruction on withdrawal if he presents imprisonment and evidence of some other affirmative

  action (which, of course, would itself support a withdrawal instruction). It would be very strange



           19
                     The government cites United States v. Flaharty for the proposition that the failure to give an
  instruction on withdrawal due to incarceration is not a basis for appellate reversal of the conviction unless “the
  defendant can show that a properly instructed jury would likely have found that he withdrew from the conspiracy.”
  295 F.3d 182, 193 (2d Cir. 2002) (citing Salameh, 152 F.3d at 150). As Flaharty cites Salameh’s plain error
  analysis for this proposition, I take “would likely have found” to be a loose paraphrase of the plain error standard,
  not a new and different standard applicable to unpreserved claims of withdrawal due to incarceration.
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  for defendants to be entitled to withdrawal instructions as a matter of law even where there is

  insufficient evidence to allow juries to conclude that they withdrew.

                 Indeed, while the language in Borelli regarding “affirmative action” or an

  “affirmative act” can be distracting, subsequent cases make clear that getting incarcerated itself

  can constitute the requisite affirmative act. This somewhat peculiar reading of the phrase

  “affirmative act” was first posited in Borelli, where Judge Friendly assumed without deciding

  that “the unlikelihood of the other conspirators’ relying for further aid on a person known to be

  confined for the very offense in which they were engaging makes such confinement a sufficient

  ‘affirmative act’ to sustain the defense of withdrawal in absence of countervailing evidence,” 336

  F.2d at 390, and indicated that evidence of incarceration upon retrial (ordered for other reasons)

  would “raise a question for the jury” on withdrawal, id.

                 The Second Circuit subsequently expanded on this possibility in Panebianco,

  where it noted that while a conspirator’s mere assertion of cessation was not sufficient, evidence

  of a defendant’s actual imprisonment “would have been enough to make his withdrawal a jury

  issue.” 543 F.2d at 453. The court in Panebianco appended a footnote making clear that it did

  not contemplate a defendant needing to show evidence of any affirmative acts besides being

  incarcerated in order to enable a jury to find that he withdrew. Id. at 454 n.5 (“Although in some

  instances a conspirator’s incarceration will imply that his membership in the conspiracy is

  terminated, in other instances the conspirator’s participation can continue through his prison

  term: he may passively retain a stake in the venture with the intention of rejoining it upon his

  release, or he may even manage to play an active role in the conspiracy from his prison cell.”);


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  see also United States v. Consol. Laundries Corp., 291 F.2d 563, 573 (2d Cir. 1961) (“That the

  arrest of a conspirator removes the presumption of continuing participation by him in the

  conspiracy is well established.”).

                 Similarly, more recent cases in which a court has found the failure to instruct the

  jury on withdrawal due to incarceration not to be plain error have involved robust showings of

  either swift resumption of conspiratorial activities after a brief term of incarceration, see

  Flaharty, 295 F.3d at 193 (finding no plain error when the defendant was incarcerated nearby for

  several months during a six-to-seven-year conspiracy and when three witnesses indicated that he

  resumed or elevated his previous conspiratorial activity upon release), or else actual criminal

  conduct while incarcerated, see Salameh, 152 F.3d at 150-51 (finding no plain error where

  participant in 1993 World Trade Center bombing conspiracy was incarcerated only for six

  months and the government presented “compelling” evidence that the defendant, while

  incarcerated, discussed the bombing conspiracy in code and agreed to convey “terrorist

  materials” to coconspirators).

                 In all, the fact that Hunter does not present evidence that he committed some

  other affirmative act while incarcerated is of little weight. There was substantial evidence that

  after Hunter’s release he did not resume his former activities but focused his energies on his

  legitimate Biker-Soc business. E.g., Tr. 769-71, 1389-90, 2053-56, 2493-2507, 2673-78. The

  government’s evidence that Hunter received money from enterprise members to invest in his

  legitimate business does not make it substantially less likely that the jury might have concluded

  that he ceased his participation in the RICO and narcotics conspiracies, even if the enterprise


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  members’ money was criminally derived. Tr. 770-71. The government’s evidence that Hunter

  wished to acquire a firearm, e.g., Tr. 1456-57, might have led members of the jury to conclude

  that he intended to continue his participation, but might simply have suggested that he felt he

  needed personal protection. And while the government suggests that Hunter’s desire to “lay

  low,” Tr. 1456, so as to avoid allowing the police to figure out the scope of his previous

  activities with the enterprise indicates that he was still a participant, this evidence is at least as

  suggestive of the opposite conclusion.

                  More fundamentally, the jury’s own behavior provides good reason to conclude

  that they might well have found that he had withdrawn. As mentioned above, the jury issued a

  note that evidenced admirable attention to the statutes of limitations and to the duration of

  conspiracies. The concerns expressed in the note were entirely consistent with the verdicts the

  jury rendered with respect to Hunter, finding that the racketeering conspiracy and the narcotics

  distribution conspiracy (and therefore, the substantive racketeering charge) were proven but that

  actual narcotics distribution within the statute of limitations was not proven. Taken together

  with the substantial evidence Hunter put forth regarding his cessation of activities after his

  incarceration and the thin showing the government made regarding further criminal activity, I

  conclude that there is a reasonable probability that the jury’s verdict would have been different

  had it been instructed properly on withdrawal.

                  Therefore, I conclude that the error affected Hunter’s substantial rights. For

  similar reasons, I also conclude that failure to correct the error seriously affected the fairness of

  the proceedings. Due to my failure to instruct the jury on withdrawal, Hunter was deprived of


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  the opportunity to raise a potentially meritorious defense to the drug trafficking conspiracy,

  racketeering conspiracy, and substantive racketeering charges. Cf. Thomas, 274 F.3d at 672

  (finding that Apprendi violation “‘seriously affected’ the fairness of the proceedings because it

  deprived [the defendant] of the opportunity to raise a reasonable doubt as to an issue -- drug

  quantity -- which his arguments before the District Court demonstrate that he was prepared to

  contest”).

                 Accordingly, I conclude that it was plain error to fail to instruct the jury on

  withdrawal from the conspiracy. The interests of justice require a new trial for Hunter on counts

  One, Two, and Ten.

                 iv.     Prejudice to Payne

                 Payne argues that he was prejudiced by my failure to instruct the jury on Hunter’s

  withdrawal “from the enterprise,” reasoning that the jury would have been likely to find that

  Hunter’s withdrawal from the enterprise caused the enterprise to dissolve entirely. Payne

  provides no authority indicating that a defendant is entitled to an instruction on withdrawal from

  an enterprise, and I am not certain what such a charge would mean. Payne cites to United States

  v. Morales, which found an analogy between an appellate court’s assessment of whether there is

  sufficient evidence for a jury to find that an enterprise existed during the charged time period and

  a jury’s assessment of whether or not incarceration constitutes a withdrawal from a conspiracy.

  185 F.3d 74, 80-81 (2d Cir. 1999). But this analogy is not sufficiently tight to enable, much less

  require, me to fashion jury instructions on a defendant’s “withdrawal” from an enterprise.

                 The crucial difference between enterprises and conspiracies in this context, which


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  Payne fails to take into account, is the legal presumption of continuity afforded conspiracies.

  Absent an affirmative showing otherwise, a conspiracy with no overt act requirement is

  presumed to remain in existence, and a defendant is presumed to remain associated with it, until

  its objectives have either been accomplished or abandoned. See, e.g., Spero, 331 F.3d at 60

  (holding that for conspiracies without overt act requirements, “where a conspiracy contemplates

  a continuity of purpose and a continued performance of acts, it is presumed to exist until there

  has been an affirmative showing that it has been terminated, and its members continue to be

  conspirators until there has been an affirmative showing that they have withdrawn” (internal

  quotation marks, emphasis, and alterations omitted)). Therefore, a jury must be instructed on

  what might constitute such an affirmative showing (such as withdrawal through incarceration),

  so that the defendant can overcome the legal presumption of continuity in an appropriate case.

  But the existence or continuity of an enterprise -- unlike a conspiracy -- is not legally presumed;

  an enterprise must be proven beyond a reasonable doubt to continue throughout substantially the

  entire period charged in the indictment. See Turkette, 452 U.S. at 583 (“The existence of an

  enterprise at all times remains a separate element which must be proved by the Government.”).

  It is hard to see what a withdrawal instruction would add to the charge that the government must

  prove beyond a reasonable doubt that the enterprise continued, beyond simply suggesting one

  basis (among many) on which a jury might decline to find the requisite continuity.20 As the jury


          20
                      Although this is not relevant to Payne’s case, a defendant who argued that he himself ceased to
  participate in a continuing enterprise would also not be able to obtain an instruction on withdrawal from the
  enterprise. With regard to a charged substantive violation of § 1962(c), the government must prove beyond a
  reasonable doubt that the defendant, during the statutory period, conducted, or participated in the conduct of, the
  affairs of the enterprise through a pattern of racketeering activity. 18 U.S.C. § 1962(c). There is no legal
  presumption that any racketeering acts were committed as the defendant’s way of conducting, or participating in the
  conduct of, the affairs of the enterprise, and so there is thus no need for a withdrawal instruction to enable a
                                                          38
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  was properly charged that it was required to find, beyond a reasonable doubt, that the enterprise

  continued for substantially the entire period charged in the indictment, no instruction on

  withdrawal from an enterprise would have been proper.21

                    Alternatively, Payne may be suggesting that he was prejudiced by my failure to

  charge the jury on Hunter’s withdrawal from the conspiracies because a finding that he did

  withdraw would have made more likely a finding that the enterprise ceased to exist outside the

  limitations period. I am not persuaded. First, I presume that the jury understood and followed

  my instruction that they must find beyond a reasonable doubt that the enterprise continued

  throughout the requisite period in order to convict a defendant on RICO charges. Indeed, given

  the acuity of this particular jury, that conclusion is not merely presumed but quite likely. This

  finding would not have been affected by a finding that Hunter had rebutted the legal presumption

  of continuity accorded his conspiracies. Second, even if the jury’s conclusions regarding

  Hunter’s legal status somehow affected its factual finding as to whether the enterprise continued,

  I find it extremely unlikely that the jury would have found that the enterprise ceased to continue

  upon Hunter’s incarceration. There was voluminous evidence of continued participation by all

  of the other key members and leaders. E.g., Tr. 770-75, 1474-76, 2351-52; cf. Morales, 185 F.3d

  at 80-81 (finding insufficient evidence to support continuity of enterprise where all of the


  defendant to argue that his later predicate acts were not committed for that purpose. With regard to a RICO
  conspiracy count, a defendant is entitled to an instruction on whether he withdrew from the conspiracy to conduct,
  or participate in the conduct of, the affairs of the enterprise, but that is precisely because the conspiracy to do so
  does entail a legal presumption of the defendant’s continued association with the conspiracy. Spero, 331 F.3d at 60
  (“[W]here a conspiracy contemplates a continuity of purpose and a continued performance of acts . . . its members
  continue to be conspirators until there has been an affirmative showing that they have withdrawn.” (internal
  quotation marks, emphasis, and alterations omitted)).
            21
                      As discussed supra, I reject Payne’s claim that there was insufficient evidence to support this
  finding.
                                                            39
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  members died or were simultaneously incarcerated for a long period of time and there was no

  evidence of continued activity). Accordingly, I do not find that it is in the interest of justice to

  grant Payne a new trial on the RICO counts.

         3.      Refusal to Disclose Exculpatory Evidence

                 Hunter argues that the government withheld material exculpatory evidence in

  violation of Brady v. Maryland, 373 U.S. 83, 87 (1963), when it withheld the notes generated

  from proffer sessions with other members of the enterprise. Hunter argues that members of the

  enterprise proffered with the government and discussed the nature and extent of the enterprise

  without reference to Hunter, thus undermining the government’s position that Hunter

  participated in the enterprise. I have reviewed relevant materials provided by the government in

  camera,22 and conclude that the government did not withhold any material exculpatory evidence.

                                                CONCLUSION

                 For the reasons stated above, I find that Hunter is entitled to a judgment of

  acquittal on Counts Three (conspiracy to murder Clemons in aid of racketeering) and Twelve

  (use of a firearm in relation to Counts Ten and Eleven), and is entitled to a new trial on Counts

  One (racketeering), Two (racketeering conspiracy), and Ten (conspiracy to distribute crack and

  powder cocaine), but I sustain his conviction on Count Four (murder of Clemons in aid of

  racketeering). I find Payne is entitled to a judgment of acquittal on Counts Three (conspiracy to

  murder Clemons in aid of racketeering), Five (conspiracy to murder Newton in aid of

  racketeering), and Thirteen (conspiracy to distribute heroin), but I sustain his conviction on

  Counts One (racketeering), Two (racketeering conspiracy), Four (murder of Clemons in aid of
         22
                 To facilitate appellate review, these will be filed under seal as Court Exhibit One of today’s date.
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  racketeering), Six (murder of Newton in aid of racketeering), Ten (conspiracy to distribute crack

  and powder cocaine), Eleven (distribution of crack and powder cocaine), and Twelve (use of a

  firearm in relation to counts Ten and Eleven).


                                                              So ordered.




                                                              John Gleeson, U.S.D.J.




  Dated: January 31, 2008
         Brooklyn, New York




                                                   41
